                     UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Desiree Lynette John

                                                           Case No.: 5-22-00276 MJC

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Quicken
 Court Claim Number:             03
 Last Four of Loan Number:       9487
 Property Address if applicable: 2451 Olympia Ln

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $1,538.06
 b.      Prepetition arrearages paid by the trustee:                        $1,538.06
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $0.00
 f.       Postpetition arrearage paid by the trustee:                       $0.00
 g.       Total b, d, and f:                                                $1,538.06

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: March 25, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Desiree Lynette John

                                                           Case No.: 5-22-00276 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on March 25, 2025, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Vincent Rubino, Esquire
 712 Monroe St
 PO Box 511
 Stroudsburg PA 18360-0511


 Served by First Class Mail
 Quicken Loans, Inc
 635 Woodward Ave
 Detroit MI 48226

 Desiree Lynette John
 2451 Olympia Ln
 Blakeslee PA 18610


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: March 25, 2025                                  /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                               Disbursements for Claim
Case: 22-00276           DESIREE LYNETTE JOHN
         ROCKET MORTGAGE
                                                                                     Sequence: 24
         F/K/A QUICKEN LOAN
                                                                                        Modify:
         635 WOODWARD AVENUE
                                                                                    Filed Date:
         DETROIT, MI 48226-
                                                                                    Hold Code:
 Acct No: Olympia Lane - PRE-ARREARS - 9487
         ARREARS - 2451 OLYMPIA LANE


                                                 Debt:           $1,538.06       Interest Paid:              $0.00
        Amt Sched:               $198,565.00                                       Accrued Int:               $0.00
         Amt Due:        $0.00                    Paid:          $1,538.06        Balance Due:                $0.00

Claim name                              Type      Date           Check #      Principal    Interest       Total Reconciled
                                                                                                DisbDescrp
 5200        ROCKET MORTGAGE
520-0 ROCKET MORTGAGE                           05/22/2024       2036692       $266.95       $0.00     $266.95 06/03/2024


520-0 ROCKET MORTGAGE                           04/17/2024       2035687       $207.00       $0.00     $207.00 04/30/2024


520-0 ROCKET MORTGAGE                           03/14/2024       2034721       $207.00       $0.00     $207.00 03/27/2024


520-0 ROCKET MORTGAGE                           02/14/2024       2033760       $207.00       $0.00     $207.00 02/28/2024


520-0 ROCKET MORTGAGE                           01/12/2024       2032820       $207.00       $0.00     $207.00 01/22/2024


520-0 ROCKET MORTGAGE                           12/19/2023       2031937       $207.00       $0.00     $207.00 01/09/2024


520-0 ROCKET MORTGAGE                           11/15/2023       2030973       $207.00       $0.00     $207.00 11/24/2023


520-0 ROCKET MORTGAGE                           10/18/2023       2030037        $29.11       $0.00      $29.11 11/01/2023


                                                              Sub-totals: $1,538.06          $0.00   $1,538.06

                                                             Grand Total: $1,538.06          $0.00




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